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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

       EDWARD BUTOWSKY,                                         §
                                                                §
               Plaintiff,                                       §
                                                                §
       v.                                                       §   Civil Action No.: 4:19-cv-00180
                                                                §
       MICHAEL GOTTLIEB, et al.,                                §
                                                                §
               Defendants.
                                                  ORDER

            Pending before the Court is the Agreed Motion to Withdraw The[] Motion to Dismiss filed

     by Defendants Brad Bauman and the Pastorum Group (the “Motion”) (Dkt. 73). Upon

     consideration, the Motion (73) is GRANTED.

            IT IS THEREFORE ORDERED the Motion to Dismiss filed by Defendants Brad
.
     Bauman and the Pastorum Group (Dkt. 52) is hereby WITHDRAWN.

            IT IS FURTHER ORDERED that Defendants Brad Bauman and the Pastorum Group’s

     deadline to file a responsive pleading is July 29, 2019.

            IT IS SO ORDERED.
            SIGNED this 18th day of July, 2019.

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                                                  ____________________________________
                                                  KIMBERLY C. PRIEST JOHNSON
                                                  UNITED STATES MAGISTRATE JUDGE
